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                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION


                                           :
UNITED STATES OF AMERICA,                          Case No. 2:18-CR-365-JNP-BCW
                                           :
                      Plaintiff,
                                           :
       v.                                          Supplemental Briefing as to United States
                                           :       Notice of Intent to Offer Evidence Pursuant
LEV ASLAN DERMEN,                                  to 404(b) Regarding Yakima Indian Tribe
  a/k/a Levon Termendzhyan,                :       Scheme to Evade Taxes, Cash Payments to
                                                   Foreign Government Officials, and
                      Defendant.           :       Dermen’s Fraudulent Obtainment of a
                                                   Yakima Washington Driver’s License


                                                   District Judge Jill N. Parrish
                                                   Magistrate Judge Brooke C. Wells


      Now comes the United States of America, by and through its undersigned counsel, and

respectfully submits this supplemental briefing.

      At the September 3, 2019 pre-trial conference, the Court directed the government to

submit additional briefing regarding the Defendant’s alleged use of the Yakima Indian Tribe to
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evade taxes. ECF 360 (Government’s 404(b) Notice); ECF 561 (Court Order for supplemental

briefing). The government hereby withdraws its notice of intent to offer evidence of the Yakima

Indian Tribe tax evasion scheme, clarifies its intent to offer evidence of cash payments to foreign

government officials, and withdraws its intent to offer evidence of Dermen’s fraudulent use of a

Yakima, Washington driver’s license pursuant to Rule 404(b), and will instead cross-examine the

Defendant regarding his fraudulent driver’s license pursuant to Rule 608(b).

      I.      Yakima Indian Tribe Tax Evasion Scheme

      The United States has carefully considered the possible appellate issues inherent in

presentation of 404(b) evidence as well as the Court’s questions and argument at the September

3, 2019 pre-trial conference and respectfully withdraws its notice of intent to offer evidence

pursuant to Rule 404(b) of Dermen’s Yakima Indian Tribe scheme to evade taxes.

      II.     Attempts to Obtain Belizean Diplomatic Credentials and Transfers of Cash to
              Belizean Politicians

      In the government’s original 404(b) Notice, ECF 360 at 20, the United States noticed its

intent to introduce evidence of Dermen’s attempt to be credentialed as a Belizean diplomat in

order to transport currency undetected. The United States hereby withdraws its notice of intent to

offer this evidence pursuant to 404(b).

      In its Supplemental 404(b) Notice, the government further noticed its intent to introduce

evidence of Dermen’s transfer of currency to Belizean government officials as intrinsic to the

crimes charged. ECF 493 at 8-9. The United States still intends to offer evidence of Dermen’s

payments of cash to Belizean officials in its case-in-chief. Dermen’s cash payments to Belizean

government officials, and Jacob Kingston’s payments on Dermen’s behalf, is not 404(b)

evidence but is inextricably intertwined with the charges in this case. The government expects

Jacob Kingston to testify that Dermen made regular payments, approximately $25,000 monthly,
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to a Belizean government official and that when Dermen could not make the payments, he would

ask Kingston to make the payments on his behalf. Evidence of cash payments to international

government officials is inextricably intertwined with the charges because it is directly relevant to

Jacob Kingston’s anticipated testimony that he believed Dermen’s promises of an “umbrella” of

government protection. Counsel for Dermen confirmed during pre-trial conference argument that

he intends to paint Jacob Kingston’s belief as “fantastical” (the government’s term), and

therefore Jacob Kingston’s belief in the “umbrella,” which formed the bedrock of their criminal

conspiracy, is a relevant and contested fact of consequence. See Fed. R. Evid. 401 (Evidence is

relevant if: (a) it has any tendency to make a fact more or less probable than it would be without

the evidence; and (b) the fact is of consequence in determining the action). Jacob Kingston’s

knowledge and participation in Dermen’s cash payments to international government officials

informed his belief in the “umbrella,” and his belief that Dermen was protected, and therefore

this evidence is “part of a single criminal episode or the other acts were necessary preliminaries

to the crime charged.” United States v. Lambert, 995 F.2d 1006, 1007 (10th Cir. 1993) (quoting

United States v. Williams, 900 F.2d 823, 825 (5th Cir. 1990)) (internal quotation marks omitted).

Kingston’s belief in Dermen’s “umbrella” was a necessary preliminary to the crimes charged,

because the fraudulent claims for hundreds of millions of dollars of tax credits were made on the

belief and confidence that Dermen’s “umbrella” would protect him – a belief that was directly

informed by the evidence of Dermen’s corrupt international foreign transactions.

      III.    Dermen’s Yakima, Washington Driver’s License

      At the September 3, 2019 pre-trial conference, the Court questioned the government as to

the relevance of the Defendant’s expired Yakima, Washington driver’s license, which falsely

claimed the Defendant resided in Yakima, Washington, at the home address of Robert Ramsey,

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the owner of First American Petroleum. This license was issued in September 2011 and expired

in August 2016. Thus, Dermen maintained this fraudulent driver’s license during the course of

the charged fraud. This evidence is relevant (1) to impeach Defendant Dermen’s credibility if he

testifies pursuant to Rule 608(b)(1) and (2) as part of a pattern of nominee usage pursuant to

Rule 404(b).1 However, based on the Court’s questions and argument at the September 3, 2019

pre-trial conference, the United States has decided to withdraw its notice of intent to introduce

this evidence in its case-in-chief pursuant to Rule 404(b), and to instead use it solely for

impeachment of the Defendant pursuant to Rule 608(b).

       “Rule 404(b) applies when other-acts evidence is offered as relevant to an issue in the

case, such as identity or intent. Rule 608(b) applies when other-acts evidence is offered to

impeach a witness, ‘to show the character of the witness for untruthfulness,’ or to show bias.”

United States v. Tomblin, 46 F.3d 1369, 1388 (5th Cir. 1995) (citations omitted); see also United

States v. Fairchild, 46 F.3d 1152 (10th Cir. 1995) (“Clearly evidence of the appellant's failure to

file tax returns is probative of truthfulness or untruthfulness and therefore is admissible under

Rule 608.”); United States v. Girdner, 773 F.2d 257, 261 (10th Cir. 1985) (“Under Rule 608(b)

inquiry, cross-examination into the prior conduct of a witness concerning his character for


1
  The evidence at trial will show that the Defendant has a pattern and practice of holding assets
and businesses in the names of third parties. For example, the Defendant’s Bugatti – subject to a
federal seizure warrant and currently missing – was registered in the name of his fuel company
and to a P.O. Box in Montana. Further, the evidence will show that he received $33 million in
fraud proceeds through the Republic of Turkey to a bank account for which his brother was a
signatory. Witnesses will also testify that it was the Defendant’s practice to hold property and
assets in the names of other people. The United States expects Jacob Kingston to testify that the
$134 million and $6 million transferred to the Republic of Turkey was money transmitted for the
benefit of the Defendant, and largely held in Jacob Kingston’s name. The government also
expects the Defendant to contest this fact, and thus any evidence of the Defendant’s use of
nominees to hold assets or otherwise is relevant to a contested fact of consequence. Accordingly,
the government previously submitted that this evidence is properly admissible pursuant to Rule
404(b) as relevant to plan, motive, and intent.
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truthfulness is within the discretion of the trial court subject to Fed.R.Evid. 403. Appellant

placed his credibility at issue when he took the stand.”) (citation omitted); United States v.

Chevalier, 1 F.3d 581, 583 (7th Cir. 1993) (“But by electing to testify, [the defendant] placed his

credibility in issue. Thus, the government could introduce evidence relevant to whether [the

defendant] was testifying truthfully, pursuant to Rule 404(b) (evidence of other crimes

admissible for other purposes) and Rule 608(b)(1) (if probative of truthfulness).”) (citation

omitted); United States v. Fulk, 816 F.2d 1202, 1206 (7th Cir. 1987) (holding that under Rule

608(b) the court should have allowed the government to impeach the defendant regarding

whether his chiropractor’s license had been suspended for deceptive practices); United States v.

Howard, 774 F.2d 838, 844–45 (7th Cir. 1985) (holding that Rule 608(b) allowed the

government to question the defendant as to whether he had lied on employment applications);

United States v. Wilson, 985 F.2d 348, 351-52 (7th Cir.1993) (holding that bribery, perjury and

the defendant's failure to file income tax returns are acts of dishonesty within the scope of cross-

examination under Rule 608(b)).

      The evidence at trial will show that Defendant Dermen has always resided in the Los

Angeles, California area, and has never lived in Yakima, Washington. Dermen’s fraudulent

obtainment of a Yakima, Washington driver’s license is evidence of his character for

untruthfulness and is a valid basis to impeach his credibility, should he testify. This is

permissible pursuant to Fed. R. Evid. 608(b)(1), which states that the court may, on cross-

examination, allow specific instances of conduct to be inquired into “if they are probative of the

character for truthfulness or untruthfulness of the witness.”2


2
 The government notes that, “[u]nlike Rule 404(b), however, Rule 608(b) does not require
advance notice of the prosecutor's intent to use specific instances of defendant’s conduct to
impeach the defendant when he testifies.” United States v. Tomblin, 46 F.3d 1369, 1388 (5th Cir.
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       Accordingly, the government hereby withdraws its intent to introduce evidence of

Dermen’s fraudulent Yakima, Washington driver’s license pursuant to Rule 404(b). See ECF 360

at 21. Instead, the government will cross-examine Defendant Dermen as to this fraudulent

driver’s license, should he testify and puts his credibility at issue, pursuant to Rule 608(b).

       Respectfully submitted this 5th of September, 2019.

                                                       JOHN W. HUBER
                                                       United States Attorney

                                                       /s/ Leslie A. Goemaat
                                                       LESLIE A. GOEMAAT
                                                       RICHARD M. ROLWING
                                                       ARTHUR J. EWENCZYK
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1995) (citing United States v. Baskes, 649 F.2d 471, 477 (7th Cir. 1980) (“No rule or rationale
guarantees the defense advance knowledge of legitimate impeachment before it calls a
witness.”). The government submits that this evidence could be admissible pursuant to Rule
404(b), thus it was included in the government’s 404(b) Notice, ECF 360. This evidence is also a
valid basis for impeachment of the defendant on cross-examination pursuant to Rule 608(b),
which does not require notice to the defense.


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                                      Certificate of Service


        I certify that on the 5th day of September 2019, I caused a copy of the foregoing to be
filed through the CM/ECF electronic filing system, thereby providing notice to all parties of
record in this case.



                                                     /s/ Leslie A. Goemaat
                                                     Leslie A. Goemaat
                                                     Special Assistant United States Attorney




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